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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

P. H. GLATFELTER COMPANY,                          :
                                                   :
                      Plaintiff,                   :   Civil Action No:
       v.                                          :   1:19-cv-02215-JPW
                                                   :
BABCOCK & WILCOX POWER                             :
GENERATION GROUP, INC., f/k/a THE                  :
BABCOCK & WILCOX COMPANY, n/k/a                    :
BABCOCK & WILCOX ENTERPRISES,                      :
INC.,                                              :
                                                   :
                      Defendants.

              STIPULATED AMENDMENT TO PROTECTIVE ORDER
                  REGARDING CONFIDENTIAL INFORMATION

      AND NOW, on this _____ day of __________, 2021, it is hereby

ORDERED and DECREED by the Court, on the Joint Motion of all of the parties,

as follows:

      WHEREAS, the parties to the above-captioned action (the “Litigation”) are

engaged in discovery proceedings and have agreed upon the treatment of

Confidential Information through a Stipulated Protective Order Regarding

Confidential Information submitted to this Court on July 2, 2020 with the Parties’

Joint Case Management Plan (“Stipulated Protective Order”, Doc. No. 26);

      WHEREAS, in furtherance of the parties’ efforts to resolve a discovery

dispute regarding scope of certain Confidential Information requested by Babcock

& Wilcox Power Generation Group (“Babcock”) to be produced by P. H. Glatfelter
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Company (“Glatfelter”), the parties now agree that certain Confidential

Information sought by Babcock in discovery and to be produced by Glatfelter,

without admission as to relevance or admissibility, requires the designation of

Attorneys’ Eyes Only;

      WHEREAS, the Stipulated Protective Order does not include a designation

of Attorneys’ Eyes Only; and

      WHEREAS, the parties agree to amend the Stipulated Protective Order to

provide for the designation of Attorneys’ Eyes Only.

      IT IS HEREBY STIPULATED AND AGREED, by and among the

undersigned attorneys for the respective parties hereto, subject to further Order of

the Court, that:

      1.       Any documents, material or information to be designated “Attorneys’

Eyes Only” may be so designated by stamping the documents, material or

information with the legend “ATTORNEYS’ EYES ONLY” prior to their

production.

      2.       The parties agree that any document, or contents of a document,

designated “Attorneys’ Eyes Only” shall have the same treatment and conditions as

documents or contents of documents designated “Confidential,” with the additional

condition that the “Attorneys’ Eyes Only” designation indicates that documents so

designated can be viewed only by:
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   (a) attorneys at Quinn Emanuel Urquhart & Sullivan, LLP who are

       involved in this Litigation and the paralegal, clerical, and secretarial

       staff employed by such counsel;

   (b) Eric Stecz, in-house counsel at Babcock;

   (c) Experts as set forth in paragraph 5(e) of the Stipulated Protective

       Order;

   (d) The Court and Court reporters as set forth in paragraphs 5(a) and

       5(c) of the Stipulated Protective Order;

   (e) Any witness as set forth in paragraph 5(d) of the Stipulated

       Protective Order, with the additional requirement that the witness

       signs an Exhibit A certification form to the Protective Order, or, if

       the witness refuses to sign such a certification, he, she, or they will

       be provided with a copy of the Protective Order;

   (f) In the case of documents, any person who authored or received the

       document(s) with the conditions set forth in paragraph 5(g) of the

       Stipulated Protective Order;

   (g) Any special master, mediator or arbitrator as set forth in paragraph

       5(h) of the Stipulated Protective Order;

   (h) clerical and litigation support personnel involved in the production,

       reproduction, organizing, filing, coding, cataloging, converting,
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                  storing, retrieving, and review of Discovery Material designated

                  “Attorneys’ Eyes Only,” to the extent reasonably necessary to assist

                  the persons identified in paragraph 7(a) of the Protective Order with

                  respect to the Litigation; and

              (i) Any other person as to whom the producing party agrees in writing

                  prior to disclosure.

      3.       A producing party may designate as “Attorneys’ Eyes Only” only

material or other information that the Producing Party in good faith reasonably

believes is so highly sensitive that its disclosure could result in significant

competitive or commercial disadvantage to the designating party. Notwithstanding

the forgoing, in efforts to resolve a discovery dispute concerning scope of certain

information requested by Babcock, Glatfelter has agreed to produce certain

Confidential Information requested by Babcock under the designation of

“Attorneys’ Eyes Only” and without admission of relevance or admissibility.

      4.       All provisions of the Parties’ Stipulated Protective Order, submitted to

the Court on July 2, 2020 at Doc. No. 26 remain in full force and effect.

      5.       All of the parties are bound by the terms of this Stipulated Amendment

to the Stipulated Protective Order, and this Amendment, as well the Stipulated

Protective Order, may not be modified in any manner, except by the written consent

of each and all of the parties.
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                       Respectfully submitted,

BLANK ROME LLP                           ECKERT SEAMANS CHERIN &
                                         MELLOTT, LLC
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                                         Attorneys for Defendants

                                         Date: Dec. 28, 2021


                                    SO ORDERED BY THE COURT:


                                 _____________________________________
                                 THE HONORABLE JENNIFER P. WILSON
